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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF OKLAHOMA

IRA EARL SIMS, JR.,

               Plaintiff,

 v.                                              Case No. 19-CIV-366-JFH-KEW

 COMMISSIONER OF THE SOCIAL
 SECURITY ADMINISTRATION,

               Defendant.

                                           ORDER
       Before the Court is the Report and Recommendation [Dkt. No. 20] of United States

Magistrate Kimberly E. West reviewing the decision of the Commissioner of the Social Security

Administration to deny disability to Ira Earl Sims, Jr. The Magistrate Judge recommends the

Commissioner’s denial of benefits be affirmed.

       Plaintiff did not object to the Magistrate Judge’s Report and Recommendation within the

14-day period prescribed by 28 U.S.C. § 636(b) and Federal Rule of Civil Procedure 72(b). Having

reviewed the Report and Recommendation, the Court concurs with the Magistrate Judge’s

recommendation, and accepts and adopts it as the order of the Court. On that basis, the decision

of the Commission is AFFIRMED.

       IT IS SO ORDERED this 11th day of January, 2021.


                                                   ____________________________________
                                                   JOHN F. HEIL, III
                                                   UNITED STATES DISTRICT JUDGE
